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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION
                                       MDL No. 16-2738 (MAS) (RLS)

    THIS DOCUMENT RELATES TO
    ALL CASES




      MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
    MOTION OBJECTING TO SPECIAL MASTER’S OPINION RELATED
   TO PLAINTIFFS’ RENEWED MOTION FOR LEAVE TO FILE SECOND
           AMENDED MASTER LONG FORM COMPLAINT
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  I.    Introduction
        On August 14, 2023, the Plaintiffs’ Steering Committee (“PSC”) filed a

  Renewed Motion for Leave to File a Second Amended Master Long Form

  Complaint (“SAMC”). ECF No. 26636.1 The PSC sought to update the First

  Amended Master Long Form Complaint by adding new factual allegations and

  new causes of action for (1) assumption of duty, (2) aiding and abetting, (3) acting

  in concert, and (4) spoliation. The SAMC also names the newly created entities,

  Johnson & Johnson Holdco (NA), Inc. (“Holdco”), LTL Management LLC

  (“LTL”), Kenvue, Inc. (“Kenvue”), as well as Janssen Pharmaceuticals, Inc.

  (“Janssen”), as defendants.2

        The SAMC contains over 1,000 paragraphs of factual contentions. The

  motion was referred to the Special Master who, after extensive briefing and

  lengthy oral argument, granted the motion except for that part which sought to add

  an independent cause of action for spoliation. The Special Master found that the

  SAMC plausibly pleads that the New J&J Defendants are successors in interest to

  Johnson & Johnson Consumer Inc. (“Old JJCI”). Opinion and Special Master

  Order No. 17 (Deciding Plaintiffs’ Motion to Amend) ECF No. 28902 (“Op.”).


  1
    Copies of the SAMC—clean and redlined—are attached as Exhibits A and B,
  respectively.
  2
   Together, Holdco, LTL, Janssen, and Kenvue are referred to as the “New J&J
  Defendants.”

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  The Special Master held that the SAMC plausibly pleads that Defendants allocated

  Old JJCI’s talc-related liabilities and certain limited assets from Old JJCI to LTL

  Management, LLC, through a divisional merger under Texas law. The Special

  Master also found that the divisional merger resulted in Old JJCI allocating all its

  other assets and liabilities to Holdco. Op. at 8. After the divisional merger, Holdco

  continued “operating the business formerly held by [Old JJCI]” without any

  interruption. In re LTL Management, LLC, 64 F.4th 84, 97 (3d Cir. 2023). Holdco

  did so until January 2023, when it transferred what had been Old JJCI’s consumer

  business to Janssen. Op. at 8. Janssen, in turn, transferred the enterprise to Kenvue,

  which continues to operate Old JJCI’s consumer health business to this day, just as

  Old JJCI had before the corporate restructuring. Id.

        Defendants’ objection to the Special Master’s decision—that it was

  improperly decided under New Jersey law because the Special Master did not

  conduct a 50-state analysis or otherwise accept Defendants’ arguments that Texas

  and/or Delaware law should govern—ignores the fundaments of multidistrict

  litigation and the purpose of master pleadings. Moreover, Defendants’ attempt to

  confuse and muddle the analysis with wordplay about the purpose of the master

  complaint here—whether it is an “operative” or “administrative” summary of

  plaintiffs’ claims—in no way casts doubt on the Special Master’s decision. Either

  the master complaint is the operative pleading, in which case the Special Master

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  properly found the motion to amend should be considered under New Jersey law,

  Op. at 11-18, or the master complaint is an administrative summary of plaintiffs’

  claims, in which case the Special Master properly found that Defendants failed to

  satisfy the futility requirements as to the claims of all plaintiffs in opposing the

  PSC’s motion to amend.3

        For all these reasons, as detailed below, Defendants’ Objection lacks merit

  and the Special Master’s decision granting the PSC leave to file the SAMC (as to

  be modified to remove the independent claim for spoliation) should be affirmed.

  II.   Discussion
        A. Legal Standard

        Leave to amend pleadings “shall be freely given when justice so requires.”

  Fed. R. Civ. P. 15(a). Leave should be granted in the absence of undue delay, bad

  faith, or dilatory motive, repeated failure to cure deficiencies in previous

  amendments, undue prejudice, or futility of the amendment. Long v. Wilson, 393

  F.3d 390, 400 (3d Cir. 2004).

        The Special Master found no evidence that the PSC’s motion was filed in

  bad faith, with a dilatory motive, or that there have been repeated failures to cure



  3
    As discussed below on pages 35 to 36, Kenvue acknowledged in the state court
  proceedings in New Jersey that “Plaintiffs have all the facts they need on successor
  liability.”

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any deficiencies. Op. at 4-5. The Special Master also found no merit to

Defendants’ undue delay argument. Op. at 5. Defendants have not raised any of

these issues in their Objection to the Special Master’s ruling and any such

arguments must be considered abandoned, as a result.

      Defendants only remaining argument is that the successor liability claims

pleaded against the New J&J Defendants are futile. When assessing futility, courts

apply the same standard for determining legal sufficiency as they do under Rule

12(b)(6). See Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1434 (3d. Cir.

1997) (applying 12(b)(6) standard when assessing “futility.”). This requires that

the allegations in the proposed pleading be accepted as true and viewed in the light

most favorable to amendment. Id. at 1420. Given this standard, “courts place a

heavy burden on opponents who wish to declare a proposed amendment futile.”

Pharmaceuticals Sales and Consulting Corp. v. J.W.S. Delavau Co., 106 F. Supp.

2d 761, 764 (D.N.J. 2000). Applying this standard, the Special Master aptly found

that Defendants could not satisfy their heavy burden to establish futility and that

the SAMC should be allowed. Op. at 15-18.

      B. Defendants’ consent to the filing of a master complaint eliminates
         any contention that the proposed amendments are futile.

      As the Supreme Court has recognized, parties in MDL proceedings “may

elect to file a ‘master complaint’ and a corresponding ‘consolidated answer,’ which


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supersede prior individual pleadings.” Gelboim v. Bank of Am. Corp., 574 U.S.

405, 413 n.3 (2015) (citing In re Refrigerant Compressors Antitrust Litig., 732

F.3d 586, 590-92 (6th Cir. 2013)). When that is the case, “the transferee court may

treat the master pleadings as merging the discrete actions for the duration of the

MDL pretrial proceedings.” Id. But when “the master complaint is not meant to be

a pleading with legal effect but only an administrative summary of the claims

brought by all the plaintiffs[,]” no merger occurs. Id.

      When the master complaint is regarded as an operative pleading, the law of

the transferee state, i.e., the state where the MDL proceedings are pending, applies

to pretrial matters before remand.4 Therefore, if the master complaint here is of the

operative variety, New Jersey’s choice-of-law rules apply (as the Special Master

found here). Op. at 11; see In re Jan. 2021 Short Squeeze Trading Litig., 76 F.4th

1335, 1345-46 (11th Cir. 2023) (citing Gelboim, 574 U.S. at 413 n.3).5



4
  Following remand, “choice of law determinations shall be made in accordance
with the law of the jurisdiction that would apply to the action had the matter been
initially filed in the Original District.” Op. at 9 (citing CMO No. 2). CMO No. 2, in
turn, does not address what law should apply to challenges to a master complaint
which does not name individual plaintiffs. The Special Master’s decision is
therefore consistent with CMO No. 2.
5
  In this regard, the Special Master’s decision is consistent with the purpose of 28
U.S.C. § 1407, “which is aimed at eliminating ‘delay, confusion, conflict,
inordinate expense and inefficiency’ during the pretrial period.” See In re Methyl
Tertiary Butyl Ether (MTBE) Prod. Liab. Litig., 241 F.R.D. 435, 439 (S.D.N.Y.

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       If, on the other hand, the master complaint is regarded as an administrative,

procedural device (as Defendants contend), “each individual complaint retains its

separate legal existence.” Refrigerant, 731 F.3d at 590. In that case, Defendants’

plaintiff-specific choice-of-law arguments are premature and cannot serve as a

basis to deny the PSC’s motion for leave to amend the master long-form

complaint. See id.6 Defendants, after all, cannot establish that the proposed

successor liability claims are futile in all cases, as the Special Master found that

plaintiffs can assert successor liability claims against the New J&J Defendants

under both the product-line and mere continuation exceptions. Op. at 15.

       Either way—whether the SAMC is regarded as operative or not—

Defendants’ objection fails, and the proposed amendment should be allowed, as the

Special Master found.




2007) (finding that law of the transferee court should apply to pretrial motions to
dismiss).
6
  See also In re Nuvaring Prods. Liab. Litig., No. 08-1964, 2009 WL 2425391, *2
(E.D. Mo. Aug. 6, 2006) (“[T]he filing of the master consolidated complaint in this
action was simply meant to be an administrative tool to place in one document all
of the claims at issue in this litigation. Neither Plaintiffs . . . nor I . . . contemplated
that Rule 12(b) motion practice would be pursued . . . against the master
complaint.”); In re Propulsid Prods. Liab. Litig., 208 F.R.D. 133, 142 (ED. La.
2002) (“[T]he master complaint [filed in this case] should not be given the same
effect as an ordinary complaint. Instead, it should be considered only as an
administrative device to aid efficiency and economy.”).

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             1. If the master complaint is viewed as an operative pleading, the
                Special Master appropriately applied New Jersey law in
                deciding the motion to amend.

      The Special Master found that because the parties consented to the filing of a

master complaint in these MDL proceedings, the transferee court should be

regarded as the forum court in considering the motion to amend. Op. at 11. In

claiming that the Special Master erred, Defendants argue that while it consented to

the filing of the master complaint, they did so only for the purpose of

“streamlin[ing] the litigation” and “not obviating threshold choice-of-law questions

regarding the viability of claims in this litigation[.]” Defs’ Br., pg. 14-15. The

Special Master did not, however, find that the filing of a master long form

complaint obviates any choice-of-law questions. Instead, the Special Master

correctly found that choice of law issues, if any, can be appropriately argued in

individual cases after remand. Op. at 12 (citing Krys v. Aaron, 106 F. Supp. 3d 472

(D.N.J. 2015)).

      Courts employ a “pragmatic” approach to determine whether a master

complaint should be regarded as an operative pleading. Bell v. Publix Super

Markets, Inc., 982 F.3d 468, 490 (7th Cir. 2020) (citing Refrigerant, 731 F.3d at

591). That approach focuses “on the behavior of the district court and the

parties[.]” Id. As the Sixth Circuit has observed, this approach “holds the court and

the parties to their actions to prevent them from springing traps by treating a


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consolidated complaint as the real complaint” in one instance and as an

administrative summary in others. Id. This pragmatic approach considers: “(1) how

the plaintiffs labeled the new complaint, (2) whether the plaintiffs served the

defendants with the new complaint instead of the original pleadings, (3) whether

key deadlines were set in relation to the new complaint, (4) whether the court

entertained motions to dismiss the consolidated complaint, and (5) whether the

parties and the court looked solely to the allegations in the consolidated complaint

when arguing and deciding such motions.” Id. This last factor is regarded as

“perhaps [the] most important.” Id. (quoting Refrigerant, 731 F.3d at 591).

      Implicit within the Special Master’s decision is a finding that the master

complaint is of the operative variety. Several of the above pragmatic factors

support that finding.

      First, Defendants stipulated and agreed to file answers to the master

complaint, the timing of which was set in relation to the filing of the master

complaint. ECF No. 74, ¶ 7; ECF No. 131, ¶¶ 1, 2 ECF No.148, ¶¶ 1, 2.




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      Second, the form of the short form complaint, which the parties agreed on,

incorporate the master long form complaint and supersede any previously filed

individual complaints.7 ECF No. 148, ¶ 7; ECF No. 257, ¶¶ 1, 2.

      Third, and perhaps most significantly, in distinguishing between the choice-

of-law analysis necessary to resolve the motion to amend and challenges to

individual plaintiffs' claims on remand, the Special Master stressed that “plaintiffs

are seeking to amend a Master Complaint that does not name a specific plaintiff.”

Op. at 8-9. Overlooking that distinction, J&J asks this Court to examine the

proposed SAMC for its sufficiency, arguing that leave to amend should be denied

because the SAMC “could not withstand a motion to dismiss.” Defs’ Br., pgs. 8-9.

By looking to the master complaint and not plaintiffs’ individual short form

complaints, Defendants have treated the master complaint as “a real complaint”

with “legal effect” thereby making it “an operative pleading.” See Refrigerant, 731

F.3d at 591.

      Given Defendants’ treatment of the master complaint as the operative

pleading, the Special Master properly found that New Jersey’s choice-of-law rules


7
  In In re Zantac Prods. Liability Litig., the district court observed that the use of
short form complaints presents “no barrier to the conclusion that, at least during
the pendency of this MDL, the individual cases have merged through their usage of
master pleadings” as short form complaints are merely used to “provide a small
amount of Plaintiff-specific information and incorporate select counts in the master
pleadings.” No. 20-2924, 2023 WL 2325536, *26 (S.D. Fla. Mar. 2, 2023).

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govern the motion to amend. Op. at 10 (citing In re Jan. 21 Short Squeeze Trading

Litig., 584 F. Supp. 3d 1161, 1179 (S.D. Fla. 2022), aff’d, 76 F.4th 1335, 1345-46

(11th Cir. 2023) (citing Gelboim, 574 U.S. at 413 n.3). Applying New Jersey’s

choice-of-law rules, the Special Master also correctly found that New Jersey’s

substantive law should govern determination of the motion to amend. Op. at 11.

The Special Master’s decision should therefore be affirmed as Defendants cannot

establish as a matter of law that plaintiffs’ successor liability claims fail under New

Jersey law. Op. at 15.

      New Jersey’s choice-of-law jurisprudence strives “to structure rules that will

lead to predictable and uniform results that are fair and just and that will meet the

reasonable expectations of the parties.” McCarrell v. Hoffmann-La Roche, Inc.,

227 N.J. 569, 573 (2017). A court must therefore determine “the most equitable

method of resolving choice-of-law questions.” Ginsberg v. Quest Diagnostics, Inc.,

227 N.J. 7, 18 (2016). Courts do that in New Jersey by using the most significant

relationship test. P.V. ex rel. T.V. Camp Jaycee, 197 N.J. 132, 142-43 (2008).

      As the New Jersey Supreme Court has recognized, there is a “consensus . . .

that ordinary choice-of-law practices should yield in suits consolidating large

numbers of claims and that courts should apply a single law in such cases[.]” In re:

Accutane Litig., 235 N.J. 229 (2018) (quoting Larry Kramer, Choice of Law in

Complex Litig., 71 N.Y.U. L. Rev. 547, 547 (1996)). In Accutane, the New Jersey

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Supreme Court instructed that in cases involving aggregate litigation with multiple

parties and potentially the laws of many states, New Jersey courts have the

discretion to apply one state’s substantive laws. That discretion, the New Jersey

Supreme Court explained, should be guided by factors set forth in Section 6 of the

Restatement (Conflicts), which include:

               a) the needs of the interstate and international systems;
               b) the relevant policies of the forum;
               c) the relevant policies of other interested states and the
                  relative interests of those states in determination of the
                  particular issue;
               d) the protection of justified expectations;
               e) the basic policies underlying the particular field of law;
               f) certainty, predictability and uniformity of result, and
               g) ease in the determination and application of the law to
                  be applied.

Accutane, 235 N.J. at 261-62 (quoting Restatement (Second) Conflict of Laws §
6(2)).

         The Accutane Court explained that while the place of injury is ordinarily

presumed to be the state with the most significant relationship, that presumption

can be overcome. Id. at 261. In multi-county litigation proceedings, New Jersey’s

analogue to federal MDLs, the Supreme Court found that the two most significant

Restatement factors are factors f. (“certainty, predictability, and uniformity of

result”) and g. (“ease in determination and application of the law to be applied.”).

Id. at 263. The Supreme Court explained that in such proceedings, the “fortuity of

the place where the individual plaintiffs reside” and “where the injury occurred”

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should be removed from the equation. Id. at 263. The Supreme Court accordingly

found that New Jersey had the most significant relationship in a products liability

case because the alleged conduct causing the injury—the manufacturing and

labeling of Accutane—happened in New Jersey.

      Applying the Accutane framework to this matter, the Special Master found

that “[n]ot only is New Jersey the forum state, but Holdco and Janssen are also

New Jersey corporations and Holdco, Kenvue, and Janssen have their principal

places of business in the state.” Op. at 11-12. As a result, the Special Master found

that New Jersey has the “most significant relationship,” and that New Jersey law

governs the motion to amend. Op. at 11. And that makes sense. The successor

liability claims here concern the manufacturing and sale of talcum powder products

by Old JJCI—a New Jersey corporation headquartered in New Jersey.

      Defendants attempt to avoid this outcome by citing In re General Motors,

LLC Ignition Switch Litig., No. 14-2543, 2017 WL 3382071 (S.D.N.Y. Aug. 3,

2017). In that case, the court held that the filing of the consolidated complaint did

not affect what choice-of-law rules should apply to the plaintiffs’ claims. Id. at *1.

But it did so only in the context of a motion for partial summary judgment of the

successor liability claims of “a subset of Plaintiffs” from just sixteen jurisdictions.

Id. As the court observed, a “master complaint has a built-in shelf life; absent some

sort of consensual resolution of Plaintiffs’ claims in this District, the Court will

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eventually remand each Plaintiff’s claims to the district in which he or she first

filed those claims[.]” Id. at *8. When that happens, the court reasoned, “it would

defy logic . . . for the transferor courts to apply New York choice-of-law rules

rather than the choice-of-law rules of their home states.” Id.

       Defendants’ objection to the Special Master’s ruling on the motion to amend

equally defies logic. Unlike the defendant in the GMC Ignition Switch Litigation,

Defendants have not moved for summary judgment on the successor liability

claims of certain plaintiffs from certain jurisdictions. Instead, Defendants have

taken the preemptive—and, indeed, premature—action of opposing the PSC’s

motion to amend the master complaint across the board so that no plaintiff could

assert successor liability claims against Holdco, Janssen, and Kenvue. That they

have done so at this stage of the proceedings with no allowance made for those

plaintiffs whose jurisdictions have favorable successor liability laws makes this

matter distinguishable from the GMC Ignition Switch Litigation and reveals

Defendants’ overreach. What is particularly revealing is that while Defendants

fault the Special Master for not conducting a 50-state choice-of-law analysis,

Defendants neither asked the Special Master to conduct such an analysis nor have

undertaken to perform such analysis to show why such an analysis would reach a

different result.




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      Nor have Defendants addressed New Jersey’s “most significant relationship”

framework, which most jurisdictions now employ in some form.8 Instead,

Defendants urge this Court to apply the “internal affairs doctrine.” Under that

doctrine, the law of the state of incorporation normally determines issues relating

to the internal affairs of a corporation. See Atherton v. FDIC, 117 S. Ct. 666, 673

(1977). This choice-of-law rule is fair to a corporation and its shareholders,

directors, and officers as they have entered into voluntary relationships with each

other as it achieves the need for certainty and predictability of results while

generally protecting the justified expectations of parties with interests in the

corporation. See Restatement (Second) of Conflict of Laws § 302, Comments a & e

(1971);9 see also cf. Cort v. Ash, 422 U.S. 66, 84 (1975). At any rate, the internal

affairs doctrine does not apply when the rights of third parties external to the

corporation are at issue. 10 See Restatement (Second) of Conflict of Laws § 301.


8
 See Symeon C. Symeonides, Choice of Law in the American Courts in 2020:
Thirty-Fourth Annual Survey, 69 Am. J. Comp. L. 177, 194 (2021).
9
  Defendants cite Section 302 of the Restatement in claiming that the “state-of-
incorporation approach is favored.” Defs’ Br., pg. 15. Defendants overlook that in
Comment A, the Restatement contrasts the internal affairs doctrine as expressed in
Section 302 with Section 301, which provides that the “rights and liabilities of a
corporation with respect to a third person that arise from a corporate act of a sort
that can likewise be done by an individual are determined by the same choice-of-
law principles as are applicable to non-corporate parties.”
10
  Defendants cite one unpublished decision from New York for the argument that
a majority of states would apply the law of the successor’s state of incorporation.

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This is because a person claiming to have been injured by a product manufactured

by a corporation can hardly be thought to have entered a voluntary relationship

with that corporation to further the corporation’s goals. See First Nat. City Bank v.

Banco Para El Comercio Exterior de Cuba, 462 U.S. 611, 636 (1983). Defendants

thus greatly overreach in arguing that the internal affairs doctrine applies here to

plaintiffs’ personal injury claims against Holdco, Janssen, and Kenvue, as the

doctrine “extends only to ‘those matters which are peculiar to the relationships

among or between the corporation and its current officers, directors, and

shareholders[.]’” See Norman v. Elkin, 860 F.3d 111, 122 (3d Cir. 2017). The

internal affairs doctrine consequently does not apply here because plaintiffs are not


Defs’ Br., pg. 15 (citing Randle v. AC Assets Servs. LLC, No. 19-1074, 2022 WL
2680079, *2 n.2 (W.D.N.Y. July 12, 2022)). That decision, however, does not
stand for that proposition. Instead, Randle addresses only New York law and,
moreover, is contrary to several published decisions from New York courts, which
uniformly limit the so-called internal affairs doctrine to only those cases involving
the internal affairs of corporations. See Tyco Int'l, Ltd. v. Kozlowski, 756 F. Supp.
2d 553, 560 (S.D.N.Y. 2010) (finding internal affairs doctrine inapplicable in cases
involving “the commission of a tort”); Roselink Invs., L.L.C. v. Shenkman, 386 F.
Supp. 2d 209, 225 (S.D.N.Y. 2004) (“Creditors' claims at issue here are tort claims
regarding the rights of “third parties external to the corporation” as they are not
brought by shareholders, officers or directors, nor are they brought derivatively on
behalf of the corporation. Therefore, the “internal affairs doctrine” is inapplicable
here.”). See also J.Y.C.C. v. Doe Run Res., Corp., 370 F. Supp. 3d 1031, 1044
(E.D. Mo. 2019) (“As the case does not involve any disputes about the internal
affairs of the various defendants, the internal affairs doctrine is not applicable to
this action”); In re Harnischfeger Indus., Inc., 293 B.R. 650, 662 (Bankr. D. Del.
2003) (noting that the internal affairs doctrine “of course . . . does not apply simply
because a corporation is a transaction party” as “[d]ifferent conflicts principles
apply . . . where the rights of third parties external to the corporation are at issue”).

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officers, directors, or shareholders of Defendants; they are external third parties

asserting personal injury claims.

      But even if the internal affairs doctrine did apply (and it does not), it

contains an exception where “some other state has a more significant relationship

to the occurrence and the parties.” Instarome Fragrance & Flav. Corp. v.

Zarkades, No. 07-873, 2009 WL 931036, *14 (D.N.J. Mar. 30, 2009). When that is

the case, the factors of Section 6 of the Restatement (Second) of Conflicts “are

used to evaluate the significance of a relationship, with respect to a particular issue,

to the potentially interested states[.]” Id. (citing Restatement (Second) of Conflicts

of Laws § 302 cmt. b); see also Krys, 106 F. Supp. 3d at 485 (“because the internal

affairs doctrine ‘is not without exception,’ the Court will proceed in its choice-of-

law analysis to determine whether, despite this presumption, New Jersey has a

more significant relationship to the disputed corporate actions”). Those are the

same factors the New Jersey Supreme Court considered in Accutane.

      Rather than address the Section 6 factors, Defendants argue that Texas and

Delaware law should apply because the divisional merger occurred in Texas and

Kenvue is a Delaware corporation. Defendants’ attempt to manufacture a

relationship between those states and plaintiffs’ claims falls short considering that

all three corporations—Holdco, Janssen, and Kenvue—are today headquartered in

New Jersey and their common predecessor was incorporated and headquartered in

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New Jersey. See Chrysler Corp. v. Ford Motor Co., 972 F. Supp. 1097, 1102 (E.D.

Mich. 1997) (“The reasons for applying the local law of the state of incorporation

carry less weight when the corporation has little or no contact with this state other

than the fact that it was incorporated there.”). Other than the post-divisional merger

incorporation of Holdco and Kenvue in Texas and Delaware, respectively,

Defendants have identified no connection between the plaintiffs’ claims and those

states, other than the individual claims of a subset of plaintiffs whose injuries arose

in Texas and Delaware. Any relationship between plaintiffs’ claims and Texas and

Delaware is therefore tenuous, at best. For that reason, the internal affairs doctrine

does not compel a different result here.

             2. If the master complaint is viewed only as an administrative
                summary of plaintiffs’ claims, the Special Master’s Opinion
                should stand as Defendants have failed to establish that the
                proposed amendments are futile as to all plaintiffs.
      As the Special Master noted, Defendants’ primary—if not sole—argument

here is that the proposed amendment of the long form complaint is futile. This is a

high bar and one that Defendants cannot clear. To establish that a proposed

amendment is “clearly” futile, Harrison Bev. Co. v. Dribeck Importers Inc., 133

F.R.D. 463, 468 (D.N.J. 1990), Defendants must establish that dismissal of the

would-be claims would be appropriate under Rule 12(b)(6). Burlington Coat

Factory, 114 F.3d at 1434. To do this, Defendants must show that no plaintiff

could plausibly assert successor liability claims against Holdco, Janssen, and
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Kenvue. If any plaintiff could assert such claims, the amendment should be

allowed. Otherwise, a plaintiff that could legally assert such claims would be

barred from doing so because others may not. If Defendants’ argument is

accepted—that amendment of the master complaint should be denied because the

law in some jurisdictions may not allow for successor liability claims against

Holdco, Janssen, and Kenvue—plaintiffs from jurisdictions with favorable laws

would be disadvantaged and their rights diminished. Because the Third Circuit has

warned against allowing MDL consolidation to “diminish” the rights of any party,

Home Depot USA, Inc. v. LaFarge N. Am., Inc., 59 F.4th 55, 62 (3d Cir. 2022), the

amendment to the master complaint should be allowed. Defendant’s argument is

moreover contrary to CMO No. 2 and the Short Form Complaint agreed to by the

parties.11

       Conversely, allowing the amendment would in no way diminish the rights of

the New J&J Defendants. In his Opinion, the Special Master emphasized that the



11
   When the master long form complaint is considered alongside the “Short Form
Complaint and Jury Demand” as first adopted in CMO No. 2, the overreach of
Defendants’ argument that the motion to amend should be denied across the board
is readily apparent. As drafted and agreed to by the parties, the Short Form
Complaint embodies a recognition that while the claims brought by the individual
plaintiffs largely overlap, there is variation among them, such that some plaintiffs
may assert the successor liability claims against the New J&J Defendants while
others do not. Defendants’ arguments here are inconsistent with that design and
CMO No. 2.

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“only issue addressed and decided is what state’s law applies to deciding the

motion to amend.” Op. at 12. To that end, the Special Master noted that in Krys,

this Court found that the MDL court’s choice-of-law ruling was not binding

because it occurred before discovery and “the factual inquiry necessary for the

choice of law analysis was inappropriate or impossible at the motion to dismiss

stage when little or no discovery has taken place.” Op. at 12-13 (quoting Krys, 106

F. Supp. 3d at 480-81). The Krys Court accordingly found that the MDL court’s

ruling at the pleading stage was at most, “preliminary” and not the law of the case.

Id. (quoting Krys, 106 F. Supp. 3d at 481). As the Special Master reasoned, the

ruling on the motion to amend is likewise not the “law of the case” and not

dispositive of what law should apply in the individual cases on remand. Op. at 13.

      Because the Special Master’s ruling on the motion to amend is not a final

determination on the choice-of-law issue for any individual case, Defendants

cannot credibly argue that the amendment would diminish their rights. By contrast,

if the decision of the Special Master is overruled, no plaintiff could pursue

successor liability claims against Holdco, Janssen, and Kenvue, no matter how

deserving. That would diminish plaintiffs’ rights. And so, because leave to amend

should be “freely given,” Foman v. Davis, 371 U.S. 178, 182 (1962), the Special

Master correctly concluded that the amendment should be allowed as Defendants

cannot establish futility.

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      In either case—whether the master complaint be considered “operative” or

“administrative”—the result here is the same: the Opinion of the Special Master

should be affirmed.

      C. The Second Amended Master Complaint plausibly pleads successor
         liability claims.

      The Special Master also correctly concluded that the SAMC plausibly pleads

successor liability claims against Holdco, Janssen, and Kenvue under the product-

line and mere continuation exceptions.12 Op. at 15. In accord with that ruling, two

New Jersey state courts have considered the issue and found that the New J&J

Defendants can be held liable as successors to Old JJCI. Exhibit C (Nesko v.

Johnson & Johnson, Case No. 300 (“Nesko Order”); Exhibit D (Pressler et al. v.

Kenvue Inc., Case No. MID-L001944-23 (“Pressler Order”)).13 As the New Jersey

state courts have recognized, successor liability often cannot be determined on the




12
  As the Special Master observed, “[u]nder New Jersey law, a corporation ‘cannot
avoid liability for the product it manufactured by simply transferring all . . .
operations, assets, and accompanying obligations’ to another corporation.” Op. at
16 (quoting Arevalo v. Saginaw Mach. Sys., Inc., 344 N.J. Super. 490, 498, 501-02
(App. Div. 2001)).
13
       Defendants cite the order in LaSalle v. Am. Int’l Indus., No. 23-2-08165-
0SEA (Wash. Super. Ct.), dismissing Holdco and Kenvue. Opp. at 2. Unlike the
instant matter, plaintiffs’ allegations in LaSalle were not robust, leading to short
consideration by the court. The fact that two New Jersey courts and the Special
Master have found that the plaintiffs have plausibly pled the New J&J Defendants’
successor liability confirms that amendment should be permitted.

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pleadings as it requires a full record developed through appropriate discovery. See

Exhibit C (citing Printing Mart v. Sharps Electronics, 116 N.J. 739 (1989)).

      Traditionally, when “one company sells or otherwise transfers all its assets

to another company, the latter is not liable for the debts and liabilities of the

transferor, including those arising out of the latter’s tortious conduct.” McKee v.

Harris-Seybold Co., Div. of Harris-Intertype Corp., 109 N.J. Super. 555, 561 (Law

Div. 1970), aff’d, 118 N.J. Super. 480 (App. Div. 1972). New Jersey courts have

carved out several exceptions to this rule.

      Like many other jurisdictions, New Jersey recognizes the four traditional

exceptions to the general rule of successor non-liability. Those are when: “(1) the

purchasing corporation expressly or impliedly agrees to assume such debts and

liabilities; (2) the transaction amounts to a consolidation or merger of the seller and

purchaser; (3) the purchasing corporation is merely a continuation of the selling

corporation; or (4) the transaction is entered into fraudulently in order to escape

responsibility for such debts and liabilities.” Woodrick v. Jack J. Burke Real Est.,

Inc., 306 N.J. Super. 61, 73 (App. Div. 1997). Like those of several other

jurisdictions, New Jersey courts also recognize a fifth exception in products

liability cases: the product-line exception. Ramirez v. Amsted Indus., Inc., 86 N.J.

332, 358 (1981).



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             1. The product-line exception.

      Under the product line exception, when a “corporation acquires all or

substantially all the manufacturing assets of another corporation . . . and undertakes

essentially the same manufacturing operation as the [predecessor] corporation, the

purchasing corporation is strictly liable for injuries caused by defendants in units

of the same product line, even if previously manufactured and distributed by the

selling corporation or its predecessor.” Ramirez, 86 N.J. at 358.14

      In adopting the product line exception, the New Jersey Supreme Court

rejected the “narrow application” given by some courts to successor liability so

that, for example, no liability is imposed where the purchasing corporation paid for

the acquired assets principally in cash.” Id. at 342. As the Court observed, “[s]trict

interpretation of the traditional corporate law approach leads to a narrow

application of the exceptions to non-liability, and places unwarranted emphasis on

the form rather than the practical effect of a particular corporate transaction.” Id. at

341-42. And that, according to the Court, is “inconsistent with the developing




14
  Other transferor states within this MDL recognize a similar product line
exception. See for example Hall v. Armstrong Cork, 103 Wn. 2d 258, 263-64 (Wa.
1984); Ray v. Alad Corp., 19 Cal. 3d 22, 34 (1977); Dawejko v. Jorgensen Steel
Co., 434 A.2d 106, 111 (Pa. 1981); Garcia v. Coe Mfg. Co., 933 P.2d 243, 249
(N.M. 1997).

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principles of strict products liability and unresponsive to the interests of persons

injured by defective products in the stream of commerce.” Id. at 342.

      There are, as the Court recognized in Ramirez, several additional

justifications for imposing liability under the product line exception:

             (1) The virtual destruction of the plaintiff’s remedies
             against the original manufacturer caused by the
             successor’s acquisition of the business, (2) the successor’s
             ability to assume the original manufacturer’s risk-
             spreading role, and (3) the fairness of requiring the
             successor to assume a responsibility for defective products
             that was a burden necessarily attached to the original
             manufacturer’s goodwill being enjoyed by the successor
             in the continued operation of the business.

Id. at 349. According to the Court, “[n]o unfairness inheres in imposing successor

liability on a corporation that purchases assets after an injury has occurred” as the

successor has the benefit of the predecessor’s goodwill, presumably considered the

existence of the predecessor’s liabilities before acquiring its assets, and “is in the

best position to spread the risk of liability among consumers by raising its prices.”

Mettinger v. Glob Slicing Mach. Co., 153 N.J. 371, 386 (1998).

      The justifications for the product line exception recognized in Ramirez and

its progeny are particularly apt here. Because of the “Texas Two Step” divisional

merger, Old JJCI’s existence by plan and design ceased completely, with virtually

all its assets transferred to New JJCI/Holdco (and later to Janssen and Kenvue),

with its talc-related liabilities going to LTL. As the former and current owners of
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Old JJCI’s manufacturing assets, Holdco, Janssen and Kenvue could and can

assess the likely cost of present and pending talc litigation and respond accordingly

with cost-spreading tactics. In continuing to manufacture and sell both the talc- and

cornstarch-based Johnson’s® Baby Powder, the successor corporations have also

enjoyed and profited from Old JJCI’s goodwill.15 Fairness dictates that while the

successor corporations enjoy and profit from the goodwill, they should also

shoulder Old JJCI’s talc-related liabilities.

      Defendants argue that the product-line exception does not apply because

they have not manufactured the talcum powder-based formulation of Johnson’s

Baby Powder for sale in the United States.16 Defs’ Br., pgs. 19, 25. That is a

distinction without a difference. As Defendants admit, they have continued

manufacturing the talcum powder-based formulation for sale outside the United



15
   Addressing Defendants’ argument that no goodwill was transferred to Holdco,
Janssen, and Kenvue, the Special Master found that this “is a fact question” not
appropriately addressed at this juncture. Op. at 17. Plaintiffs have sufficiently
alleged that New J&J Defendants have continued to use and profit from the
Johnson’s® trademark and branding. SAMC, ¶¶ 61-67. Kenvue’s disclosures to the
Securities and Exchange Commission confirm that Kenvue is the same company
and sells the same iconic, lucrative brands that Old JJCI once did: “Our cosmetic
products include…Johnson’s Baby Powder….” Id., ¶ 61. The New J&J Defendants
have thus not only continued manufacturing Johnson’s® Baby Powder but have
exploited Old JJCI’s goodwill.
16
  In the New Jersey state court proceedings, plaintiffs’ counsel presented evidence
that the New J&J Defendants have continued manufacturing the talcum powder-
based formulation for sale in the United States.

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States. That is more than enough for the product-line exception to apply. After all,

it is not even necessary for them to continue manufacturing any product in the

Johnson’s Baby Powder product line for the product-line exception to apply under

New Jersey law. As the Appellate Division recognized in Saez v. S&S Corrugated

Paper Mach. Co., 302 N.J. Super. 545, 553 (App. Div. 1997), the product-line

exception can apply even though the successor never manufactures the product-

line; it is enough that the successor obtained the “right to manufacture and market”

it. But here, the New J&J Defendants not only obtained the right to manufacture

and market the talc-based formulation internationally and domestically, they

continue to do so abroad.

      Defendants’ claim that international talcum powder sales do not count finds

no support under New Jersey law. It is just the opposite. As recognized in Ramirez,

there are only two requirements for the product-line exception to apply: first, that

“corporation acquires all or substantially all the manufacturing assets of another

corporation,” and second, that it “undertakes essentially the same manufacturing

operation as the [predecessor] corporation[.]” Ramirez, 86 N.J. at 358. The

product-line exception does not have territorial requirements mandating that the

successor corporation continue manufacturing the product line for sale in a certain

jurisdiction. Id. at 338 (finding product-line exception applicable when product

was manufactured outside New Jersey); Nieves v. Bruno Sherman Corp., 86 N.J.

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361, 365 (1981) (same); Bussell v. DeWalt Prods. Corp., 259 N.J. Super. 499, 506

(App. Div. 1992) (same).

      A requirement that the successor corporation continue the manufacture of

the product-line for sale in a specific territory is also an anathema to the various

justifications for the product-line exception. As the New Jersey Supreme Court

explained, those justifications include “the successor’s ability to assume the

manufacturer’s risk-spreading role” and “the fairness of requiring the successor to

assume a responsibility for defective products that was a burden necessarily

attached to the original manufacturer’s goodwill being enjoyed by the successor in

the continued operation of the business.” Ramirez, 86 N.J. at 349. Therefore,

whether Defendants continued the manufacture of talcum powder domestically is

of no moment.

      In any event, the product-line exception only requires that the successor

manufacture “essentially the same line of products as the predecessor.” Op. at 13

(quoting Ramirez, 86 N.J. at 347, 358). Because “the word ‘essentially’ does not

mean ‘identically[,]’” Bussell v. DeWalt Prods. Corp., 259 N.J. Super. 499, 518

(App. Div. 1992) (quoting Ramirez, 86 N.J. at 358), Defendants can be held liable

for injuries arising because of the talcum powder-based formulation even though

they allegedly only manufacture the reformulated, cornstarch-based version of

Johnson’s Baby Powder for domestic sale. This is because Defendants need not

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have manufactured the same version of the product, but merely a product in the

same product-line.17 What matters is that while the cornstarch- and talcum powder-

based formulations use different base component ingredients, they serve the same

function, serve the same market, are sold in the same stores, and use the same

trademark, branding, esthetic features, and goodwill. The two formulations are,

thus, part of the same product-line, as the Special Master found.18 Op. at 16 (“the

SM agrees with plaintiffs that they have sufficiently alleged that the new

defendants continued manufacturing and marketing the Johnson’s Baby Powder

product-line, a reformulated product that is functionally the same and serves the

same purpose, uses the same name, and is marketed to the same audience, as

defendants’ historical baby powder.”).

      Defendants’ argument that the product-line exception does not apply

because the “transaction that formed Holdco did not eliminate plaintiffs’ effective



17
  See “product line,” Collins Dictionary, https://www.collinsdictionary.
Com/us/dictionary/27nglish/product-line (last accessed September 14, 2023) (“A
product line is a group of related products produced by one manufacturer, for
example, products that are intended to be used for similar purposes or to be sold in
similar types of stores.”).
18
   Defendants contend that the two formulations are not part of the same product
line because “plaintiffs’ whole theory of the case is that cornstarch has long served
as a safer alternative.” Defs’ Br., pg. 19. Were that correct (and it is not), a product
that injures a plaintiff and its alternative safer design could not be part of the same
product-line even though they serve the same function and the same market. There
is no basis in the law for such a narrow definition of the “product-line”.

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remedies” similarly misses the point. While the Ramirez court noted that one

rationale for the product-line exception is the “virtual destruction of the plaintiffs’

remedies against the original manufacturer,” the court did not adopt the “‘Ray-

total-destruction-rationale’ as a strict requirement for the imposition of successor

liability.” Bussell, 259 N.J. Super. at 520. But even if it did, Defendants confuse

the “original manufacturer,” meaning Old JJCI, with Holdco and LTL. Because

Old JJCI has ceased existence, Op. at 7, the “virtual destruction” requirement

would be satisfied if there were such a requirement.

      It is also of no moment that Holdco and LTL could conceivably satisfy Old

JJCCI’s talc-related liabilities. What matters is that because of the divisional

merger, Old JJCI cannot. The New Jersey Supreme Court’s Nieves decision

confirms this. In that case, Defendant Harris Corporation (“Harris”) made the same

argument Defendants make here. As the New Jersey Supreme Court noted, Harris

argued that the “virtual destruction of the plaintiff’s remedies against the original

manufacturer” justification for successor liability “is concerned solely with finding

one viable, extant corporate defendant that has succeeded to the manufacturing

operation of the original manufacturer.” Nieves v. Bruno Sherman Corp., 86 N.J.

361, 370 (1981). The New Jersey Supreme Court rejected this argument. As it

explained, Harris misinterpreted “the underlying purpose of this justification” as

the concern is not so much “with the availability of one particular viable successor

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as it [is] with the unavailability of the original manufacturer by reason of its

divestiture of assets and dissolution.” Id. at 371 (emphasis added). Under New

Jersey law, the fact that LTL acquired Old JJCI’s talc-related liabilities in the

divisional merger does not affect whether successor liability can be imposed on

Holdco, Janssen, and Kenvue.19 Id.

      Defendants’ continued insistence that only LTL can be held liable for Old

JJCI’s talc-related liabilities also reflects a fundamental misunderstanding (or

misreading) of Texas’s divisional merger statute (Tex. Bus. Orgs. Code Ann

§10.008) and successor liability law more generally. As Defendants acknowledge,

Section 10.008 provides that “all liabilities and obligations of each organization

that is a party to the merger are allocated to one or more of the surviving or new

organizations in the manner provided by the plan of merger.” Tex. Bus. Orgs. Code

Ann § 10.008(a)(3). From this provision, Defendants argue that because the talc-

related liabilities were allocated to LTL, neither Holdco, Janssen, nor Kenvue can




19
  Whether New JJCI, Janssen, and Kenvue can seek indemnification from LTL
because it had assumed Old JJCI’s talc-related liabilities is an issue to be decided
amongst the various corporations; it does not limit plaintiffs’ rights as to any
particular corporation. Nieves, 86 N.J. at 370.

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be held liable for Old JJCI’s talc liabilities. Defs’ Br., pg. 21-22. This is not how

Texas’ successor liability exceptions read or work.20

      A defendant can be held liable as a successor if that defendant has assumed

the predecessor’s liabilities. Woodrick., 306 N.J. Super. at 73. When a defendant

has not assumed the liabilities of its predecessor, the other exceptions to successor

non-liability, such as the product-line and mere continuation exceptions, can be

used to impose successor liability. Indeed, the New Jersey Supreme Court has

rejected the notion that a successor corporation can evade successor liability by

disclaiming its predecessor’s liabilities, as Defendants seek to do here. See Lefever

v. K.P. Hovnanian Enterprises, Inc., 160 N.J. 307, 319 (1999) (finding disclaimers



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   Had the Texas Legislature intended to limit the use of the “except as otherwise
provided . . . by law” provision, it would have written the statute to express that
intent. But it did not. On the contrary, “while the [divisional merger statute’s]
provisions permitting multiple surviving entities in a merger were intended to
provide corporations with greater flexibility in structuring acquisition and
restructuring transactions, they were not intended to have any material effect on the
existing rights of creditors of the parties to a merger.” See Curtis W. Hoff, The
New Texas Business Corporation Act Merger Provisions, 21 St. Mary’s L.J. 109
(St. Mary’s Law Journal 1989). As noted in that article, “[t]o reflect this intent, the
Legislature adopted an amendment to Article 5.15 of the TBCA which specifically
states that ‘nothing contained in Part 5 of this Act shall ever be construed as
affecting, nullifying or repealing the Anti-trust laws or as abridging any right or
rights of any creditor under existing laws.” Id. at 122. Given this provision,
creditors “will continue to possess all the rights available to [them] under law and
contract” with “all laws protecting the rights of creditors with respect to fraudulent
conveyances, preferences and insolvency [remaining] in force and apply[ing].” Id.
at 124-25.

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of liability ineffective “when other principles of law require the imposition of

liability”); Woodrick, 306 N.J. Super. at 310-11, 314.

      Defendants argue that successor liability laws do not apply because the

divisional merger proceeded under Tex. Bus. Orgs. Code Ann § 10.008. But

Texas’s corporate laws do not allow the entities surviving a divisional merger to

circumvent the successor liability laws of other states. As the Third Circuit

observed in LTL Management, no entity created in a divisional merger is “‘liable

for the debt or other obligation’ allocated to any other new entity” “[e]xcept as

otherwise provided by law or contract.” Id. at 95 (quoting Tex. Bus. Orgs. Code

Ann § 10.008(a)(4)).21 Citing the Third Circuit’s Opinion in LTL, the Superior



21 Defendants cite an order in Yandell v. Johnson & Johnson, No. 23STCV11850
(Cal. Super. Ct.), wherein the court observed: “[I]f . . . New Consumer actually
held those liabilities and then merged with Janssen Pharmaceuticals, Inc., Johnson
& Johnson Holdco (NA) Inc., and Kenvue Inc., making those three Defendants
now liable, one would expect the Third Circuit to have mentioned that.” Defs’ Br.,
pgs. 20-21. The California state court’s supposition about what the Third Circuit
would have done is contrary to “the general rule that a federal appellate court does
not consider an issue not passed upon below.” Selected Risks Ins. Co. v. Bruno,
718 F.2d 67, 69 (3d Cir. 1983) (citing Singleton v. Wulff, 428 U.S. 106, 120
(1976)); see also Doe by and through Doe v. Boyertown Area School District, 897
F.3d 515, 517 (2018) (Jordan, J., dissenting) (“There is a good reason why we
avoid wading into fraught waters without needing to and without careful legal
analysis supporting the conclusions we reach. Dicta are often dangerous. Because
they are unmoored from any concrete set of facts and are frequently the product of
judicial musing rather than adversarial presentations from parties with a vested
interest in exploring issues in detail, dicta can be ill-informed. All too often, they
can short-circuit the legal process and end up substituting mere assertion for
reason.”).

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Court in Nesko v. Johnson & Johnson, Docket No. ATL-L-741-23 (Law Div. MCL

2023), found that “the Texas Code does not contemplate that a corporation that

was not assigned liabilities in the merger [can] evade liability when required under

the laws of other states.” Exhibit C. In Jackson v. Corizon Health Inc., a Michigan

district court likewise recognized that “[w]hatever Texas may have to say about

successor liability following a divisional merger, Michigan has its own rules.” No.

19-13382, 2022 WL 16575691, *10-11 (E.D. Mich. Nov. 1, 2022). As these

decisions show, a corporation can choose how to allocate its assets and liabilities

among the corporations surviving a divisional merger. But that choice does not

allow a surviving corporation not allocated the liabilities to escape liability

imposed under the laws of other states.

      Ultimately, the Special Master found that plaintiffs have sufficiently alleged:

          ▪ “that the new defendants continued manufacturing and
            marketing the Johnson’s Baby Powder product-line, a
            reformulated product that is functionally the same and serves
            the same purpose, uses the same name, and is marketed to the
            same audience, as defendants’ historical baby powder”; and
          ▪ “that the new defendants continue to use and profit from
            Johnson’s trademark, branding and goodwill.”
Op. at 16. From these allegations, the Special Master reasonably found that the

SAMC adequately and plausibly pleads that Holdco, Kenvue and Jannsen are

liable under the product-line exception. Id.



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      In reaching that conclusion, the Special Master noted that Defendants raised

several factual issues that are premature and not appropriately considered at this

stage of the proceedings. Id. at 16-17. As the Special Master recognized in

considering the motion to amend, the futility of an amendment is assessed using

the same standard use to evaluate a Rule 12 motion to dismiss. Op. at 5 (citing

Burlington Coat, 114 F.3d at 1434). This requires that the allegations of the SAMC

be accepted as true and viewed in the light most favorable to amendment.

Burlington Coat, 114 F.3d at 1420. Defendants’ various arguments for why the

product-line exception does not apply are no more appropriate now. The Special

Master’s decision should therefore be affirmed.

             2. The mere continuation exception.

      Because the “de facto merger” and “mere continuation” exceptions to “the

general rule of non-liability tend to overlap, with much of the same evidence being

relevant to each determination, these exceptions are often treated in unison” and

referred to as the “mere continuation” exception. Woodrick, 306 N.J. Super. at 73.

In determining whether a particular transaction amounts to a de facto consolidation

or mere continuation of the predecessor’s business operations under the

successor’s name, four factors are relevant: “(i) continuity of management,

personnel, physical location, assets, and general business operations; (ii) a

cessation of ordinary business and dissolution of the predecessor as soon as


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practically and legally possible; (iii) assumption by the successor of the liabilities

ordinarily necessary for the uninterrupted continuation of the business of the

predecessor; and (iv) continuity of ownership/shareholders.” Id.

      Not all four factors need to be present for the mere continuation exception to

apply. Id. What matters is that the “the facts show that the intent was for the

successor to assume all the benefits and burdens of the predecessor’s business,

with the successor becoming a ‘new hat’ for the predecessor.” Id. at 74.22

      The Special Master found all four mere continuation factors satisfied here.

Op. at 15-16. As he observed, the “new JJCI Defendants are simply old JJCI

reconstituted[,]” considering that “plaintiffs allege that the new J&J Defendants


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   As to this mere continuation claim, Defendants argue that successor liability
cannot be imposed on the New J&J Defendants because plaintiffs can obtain
recourse against LTL. This argument conflates LTL with Old JJCI: the New J&J
Defendants are successors to Old JJCI, not LTL. Furthermore, while Holdco and
Janssen continue to exist, Holdco does so only as a “barren, corporate shell”
making Holdco’s continued existence no impediment to imposing successor
liability on Janssen and Kenvue. See Pub. Serv. Elec. & Gas Co. v. Cooper Indus.,
LLC, __ F. Supp. 3d __ (D.N.J. 2023) (slip op. at 9). While Janssen also continues
to exist, that too is no impediment to finding Kenvue liable as a successor to Old
JJCI given that “Janssen is a pharmaceutical company that does not currently hold
any of the assets previously belonging to Holdco.” Defs’ Br., pg. 30. As to
Kenvue, Defendants’ argument thus “places unwarranted emphasis on the form
rather than the practical effect of” the corporate transactions at issue here. See
Ramirez, 86 N.J. 341-42. That is, while Old JJCI’s corporate form changed, with
its manufacturing assets and operations going from Holdco, to Janssen, and finally
to Kenvue, today it is Kenvue that is the new hat of Old JJCI. Successor liability
may be fairly imposed on Kenvue too, as a result. Id. (rejecting narrow application
of the mere continuation exception).

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function the same as Old JJCI, manufacture the same product, have the same

leadership and ownership, and use the same Johnson’s Baby Powder brand and

manufacturing assets.” Op. at 15. The Special Master further observed that

             plaintiffs allege that [Kenvue’s] SEC registration filing
             states that it sells Johnson’s Baby Powder in the United
             States (SAMC ¶¶ 67, 61), that Kenvue “acknowledges
             itself as the company responsible for the manufacture of
             Johnson’s Baby Powder” (¶ 58), that Kenvue
             acknowledges it is responsible for all liabilities resulting
             from exposure to talc outside the United States or Canada
             (¶ 59), that Kenvue is responsible individually and as
             successor to all predecessor entities involving in the
             manufacturing, marketing and sale of asbestos-containing
             talc (¶ 60), that Kenvue seeks to benefit from the historical
             sale of Johnson’s Baby Powder (¶¶ 62, 67), that even today
             it is possible to buy talc-based Johnson’s Baby Powder
             online (¶ 64), that Kenvue lists Johnson’s as one of its
             “iconic brands” (¶ 65), and that Kenvue continues to
             market the reformulated line of Johnson’s baby products
             “under the trusted Johnson’s brand name” (¶ 67).

Op. at 15-16.

      While Defendants claim that these allegations are unfounded, that argument,

according to the Special Master, is not appropriately considered at the motion to

amend stage. Op. 16-17. The Special Master was correct. Defendants’ argument

also conflicts with one Kenvue made in the New Jersey multi-county litigation

proceedings. In seeking a protective order, Kenvue argued, “Plaintiffs have all the

facts they need on successor liability.” Exhibit E. According to Kenvue, those facts

include:

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         ▪ Kenvue’s CEO’s testimony “that ‘most’ of the ‘employees of
           Consumer Health transferred from Johnson & Johnson to
           Kenvue’ with only ‘some exceptions’ and that ‘all the
           employees involved in the manufacturing and marketing of
           Johnson’s Baby Powder transferred from Johnson & Johnson
           to Kenvue.’”
         ▪ Kenvue’s CFO’s testimony that “‘as it related to the
           manufacture and sale of Johnson’s Baby Powder,’ he was not
           aware of anything of the consumer health business ‘left
           behind’ at Johnson & Johnson.”
         ▪ Kenvue’s CEO’s testimony that “all the manufacturing assets
           involved in the Johnson’s Baby Powder transferred from
           Johnson & Johnson to Kenvue’ and are ‘part of the new
           Kenvue base.”
         ▪ Kenvue’s CEO’s testimony that “there was no ‘interruption or
           disruption to the business linked’ to the Kenvue transactions.”
         ▪ Kenvue’s CFO’s testimony “that ‘when that transfer took
           place’ nothing ‘operationally had changed as it related to the
           sale, and marketing, and manufacturing of Johnson’s Baby
           Powder.”
         ▪ Kenvue’s CEO’s testimony that Kenvue “‘has the right to use
           the Johnson’s trademark going forward’ under ‘a trademark
           agreement with Johnson & Johnson” and that the “Johnson’s
           Baby brand is part of the Kenvue portfolio.”
         ▪ Kenvue’s CEO’s testimony that “‘[t]he marketing capabilities
           were transferred’ from Consumer Health to Kenvue.”


Exhibit E, pgs. 5-6. Defendants’ argument here on the mere continuation exception

thus falls flat as they are contrary to the standards governing motions to amend and

even the position taken by Kenvue in the state court proceedings.




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III.   Conclusion
       For all these reasons, Special Master Order No. 17 should be affirmed and

the amendment to the master long form complaint allowed.

Dated:       February 6, 2024                Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 6, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                              Respectfully submitted,


                                              /s/ Michelle A. Parfitt
                                              Michelle A. Parfitt




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